    Case 6:06-cr-00026-JRH-BKE Document 1663 Filed 09/28/16 Page 1 of 1




                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                    STATESBORO DIVISION

RAMON ANTONIO KELLY,                   )
    Movant,                            )
v.                                         )   Case No. CV616-128
                                       )                 CR606-026
UNITED STATES OF AMERICA,              )
     Respondent.                       )

                                  ORDER

      Let a copy of this Report and Recommendation be served upon counsel for

the parties. Any objections to this Report and Recommendation must be filed

with the Clerk of Court not later than October 11, 2016. The Clerk shall submit

this Report and Recommendation together with any objections to the Honorable J.

Randal Hall, United States District Judge, on October 12, 2016. Failure to file an

objection within the specified time means that this Report and Recommendation

may become the opinion and order of the Court, Nettles v. Wainwright, 677 F.2d

404 (5th Cir. 1982), and further waives the right to appeal the District Court's

Order. Thomas v. Arn, 474 U.S. 140 (1985).

      All requests for additional time to file objections to this Report and

Recommendation should be filed with the Clerk for consideration by the District

Judge to whom this case is assigned.

      SO               this 27th day of September, 2016.

                                                     UNITED STATES MAGISTRATE JUDGE
                                                     SOUTHERN DISTRICT OF GEORGIA
